Case 1:21-cr-00139-TNM Document 39 Filed 10/04/21 Page 1of5

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA _ : Case No: 21-cr-139 (TNM)

18 U.S.C. §§ 1752(a))(1)

DANA JOE WINN

Defendant.

STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and through
its attorney, the United States Attorney for the District of Columbia, and the defendant, Dana Joe Winn,
with the concurrence of his attorney, agree and stipulate to the below factual basis for the defendant’s
guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the United States could
prove the below facts beyond a reasonable doubt:

The Attack at the U.S, Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol.

2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.
Case 1:21-cr-00139-TNM Document 39 Filed 10/04/21 Page 2 of 5

3, On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count
of the Electoral College of the 2020 Presidential Election, which had taken place on November
3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

4. As the procecdings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

5. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

Page 2 of 5

 
Case 1:21-cr-00139-TNM Document 39 Filed 10/04/21 Page 3 of 5

however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,
including by breaking windows and by assaulting members of law enforcement, as others in the
crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.
Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 p.m., members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

Dana Joe Winn’s Participation in the January 6, 2021, Capitol Riot
8. The defendant, Dana Joe Winn, unlawfully entered the U.S. Capitol on January 6,
2021. The defendant traveled from her home in Florida to Washington D.C. to participate in the
“Stop the Steal” rally against the results of the 2020 Presidential Election. After attending the
rally, the defendant marched to the U.S. Capitol and made entrance into the building.
9. While inside the building the defendant was captured in a photograph, alongside
his co-defendant Rachael Lynn Pert, taken inside the U.S. Capitol carrying an American flag on

a flagpole, with the flag hung upside down to indicate a country in distress.

Page 3 of 5
Case 1:21-cr-00139-TNM Document 39 Filed 10/04/21 Page 4 of 5

10. After the defendant exited the building he was captured on video with his co-

defendant stating:

Pert: [talking to Winn] They said we stopped the vote.

Winn: We stopped the vote?

Pert: That’s what they said, some people were saying we did stop the vote.

Winn: Isn’t that what we were trying to do?

[40 minutes later]:

Pert: [talking to unknown person] We were inside!

Winn: And they were gassing us.

Pert: We were trying to storm them to stop the vote and they were Starting tear gassing
and forcing us out.

11. The defendant knew at the time he entered the US. Capitol Building that he did

not have authority to do so and that the building was restricted.

Respectfully submitted,

CHANNING D. PHILLIPS
Acting United States Attorney
D.C. Bar No. 415793

By:  /s/ Brandon K. Regan
Brandon K. Regan

Assistant United States Attorney

Page 4 of 5

 
Case 1:21-cr-00139-TNM Document 39 Filed 10/04/21 Page 5 of 5

DEFENDANT’S ACKNOWLEDGMENT

[, Dana Joe Winn, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.

Date: 7) 29 2/ ea

“Dana Joe Win oe W.
Defendant

 

ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.

Date: leg lw Sif Mei. filler,

Allen Orenberg, Esq.
Attorney for Defendant

Page 5 of 5
